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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: UNASSIGNED


BLUE SKY THE COLOR OF                    x    Court No. 21-00624
IMAGINATION, LLC                         :
                                         :
              Plaintiff,                 :
                                         :
              v.                         :    COMPLAINT
                                         :
UNITED STATES,                           :
                                         :
          Defendant.                     :
____________________________             x


      Plaintiff, BLUE SKY THE COLOR OF IMAGINATION, LLC., by its

attorneys, Stein Shostak Shostak Pollack & O'Hara, LLP, complains of Defendant,

the United States, and alleges as follows:

                                  JURISDICTION

      1.      This Court’s jurisdiction arises under 28 U.S.C. §1581(a), and this

action is filed within the time limits prescribed by 28 U.S.C. §2636(a)(1).

      2.      On August 19, 2021, through its attorneys, Plaintiff timely filed Protest

No. 2704-21-157377 at the Port of Los Angeles, California, contesting the decision

by U.S. Customs and Border Protection (CBP) to classify desk pad and planning

calendars in Entry Number CHQ-0712874-9 as notebooks under HTSUS

4820.10.4000.
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      3.      On December 8, 2021, CBP denied the protest.

      4.      On December 16, 2021, Plaintiff filed a summons challenging CBP’s

decision.

      5.      All duties and taxes are paid.

      6.      Jurisdiction over all or part of the subject matter of this action is based

upon Plaintiff’s timely protest, Customs decision to deny the protest and Plaintiff’s

timely filed summons.

                                       PARTIES

      7.      Plaintiff is a California limited liability company with its principal

place of business in Irvine, California, and is the importer of record of the subject

merchandise.

      8.      Defendant, United States, is the proper party for decisions taken by

CBP, a constituent agency of the U.S. Department of Homeland Security.

                                      STANDING

      9.      Plaintiff is the real party in interest and on this basis has standing to

bring this action.

      10.     Plaintiff’s claims are within the “zone of interests” of the underlying

statute, 19 U.S.C. §1514(a), which provides for judicial review of classification

disputes or disputes over exactions and other charges imposed by CBP.



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                          FACTUAL BACKGROUND

      11.    Plaintiff imports and sells calendars.

      12.    On December 1l, 2020, Plaintiff imported desk pad and planning

calendars in Entry Number CHQ-0712874-9 and entered the merchandise under

HTSUS 4910.00.2000 (calendars).

      13.    Each desk pad and planning calendar in Entry Number CHQ-0712874-

9 contained between 70 percent to 100 percent dated calendar pages.

      14.    On July 30, 2021, CBP reclassified and rate advanced the desk pad and

planning calendars in Entry Number CHQ-0712874-9 to HTSUS 4820.10.4000 as

notebooks.

      15.    On August 19, 2021, Plaintiff timely filed Protest No. 2704-21-157377.

      16.    On December 8, 2021, CBP denied the protest.

      17.    On December 16, 2021, Plaintiff filed a summons challenging CBP’s

decision.

                                     COUNT I

              (Incorrect Classification Decision – Desk Pad Calendar)

      18.    Plaintiff repeats and incorporates paragraphs 1-17 by reference, as

though fully stated herein.




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      19.    Plaintiff’s desk pad calendars are not classifiable as notebooks under

HTSUS 4820.10.4000 because they are not notebooks.

      20.    Plaintiff’s desk pad calendars are properly classified under HTSUS

4910.00.2000 because they are calendars.

                                     COUNT II

              (Incorrect Classification Decision – Planning Calendar)

      21.    Plaintiff repeats and incorporates paragraphs 1-17 by reference, as

though fully stated herein.

      22.    Plaintiff’s planning calendars are not classifiable as notebooks under

HTSUS 4820.10.4000 because they are not notebooks.

      23.    Plaintiff’s planning calendars are properly classified under HTSUS

4910.00.2000 because they are calendars.

                                      RELIEF

      24.    WHEREFORE, Plaintiff respectfully requests that this Court:

             (a)     Enter judgment in its favor; and hold Plaintiff’s desk pad

calendars are classified as calendars under HTSUS 4910.00.2000, and refund the

excess duties to Plaintiff together with interest as provided by law; and




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             (b)     Enter judgment in its favor; and hold Plaintiff’s planning

calendars are classified as calendars under HTSUS 4910.00.2000, and refund the

excess duties to Plaintiff together with interest as provided by law; and

             (c)     Award costs, attorneys’ fees and other such relief as the court

deems equitable and just.

Dated: August 4, 2022                  Respectfully submitted,

                                 By:        /s/ Christopher J. Duncan
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